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Exhibit 3 — Exemplary Infringement Claim Chart for U.S. Patent No. 8,046,721

Claim 7 of U.S. Patent No. 8,046,721

Infringement by Samsung Galaxy Nexus

7. A portable electronic device,
comprising’:

To the extent that the preamble is found to be a limitation, the Samsung Galaxy Nexus is
a portable electronic device. It is 67.94mm x 135.5mm x 9.47mm, and has an 1850mAh
battery. Exhibit 4* (Galaxy Nexus Specifications, available at
http:/Awww.google.com/nexus/#/tech-specs).

(a) a touch-sensitive display;

The Samsung Galaxy Nexus has a touch-sensitive display. The Samsung Galaxy Nexus
User Guide states that to use the Galaxy Nexus, you “[u]se your fingers to manipulate
icons, buttons, menus, the onscreen keyboard, and other items on the touchscreen.” See
Exhibit 5, at 9. The ’721 specification makes clear that a touch screen display is the
same as a touch-sensitive display: “Touch-sensitive displays (also known as ‘touch
screens’ or ‘touchscreens’) are well known in the art.” (Col. 1:25-26.)

(b) memory;

The Samsung Galaxy Nexus has two forms of memory: “Storage: 32 GB” and
“Memory: 1 GB RAM.” Exhibit 4 (Galaxy Nexus Specifications).

(c) one or more processors; and

The Samsung Galaxy Nexus has a “1.2GHZ dual core processor.” Exhibit 4 (Galaxy
Nexus Specifications).

(d) one or more modules stored in the
memory and configured for execution by
the one or more processors, the one or more
modules including instructions:

The ’721 specification discloses many types of modules that exist in the Samsung
Galaxy Nexus, including a contact/motion module that “detects contact with the [] touch
screen.” (Col. 6:34-35.)

The Samsung Galaxy Nexus contains, among other modules, a contact/motion module in
its memory that is configured for execution by the Galaxy Nexus’s processor. This

' Apple's inclusion of citations related to any claim preamble in this claim chart should not be interpreted as an admission that the preamble is limiting. Apple
reserves the right to take the position that the claim preambles are limiting or not limiting on a claim-by-claim basis.

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* All Exhibits refer to the Exhibits to the Declaration of Ravin Balakrishnan, Ph.D.

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Claim 7 of U.S. Patent No. 8,046,721

Infringement by Samsung Galaxy Nexus

module allows the Samsung Galaxy Nexus to detect contact with the touch screen. The
Samsung Galaxy Nexus User Guide discloses some of these contacts that the
contact/motion module detects:

Touch & type

Use your fingers to manipulate icons, buttons, menus, the onscreen keyboard, and other items on the
touchscreen. You can also change the screen's orientation.

To select or activate something, touch it.

To type something, such as a name, password, or search terms, just touch where you want to type. A
keyboard pops up that lets you type into the field.

Other common gestures include:
> Touch & hold: Touch & hold an item on the screen by touching it and not lifting your finger until an
action occurs.

P Drag: Touch & hold an item for a moment and then, without lifting your finger, move your finger on
the screen until you reach the target position. For example, you can drag to reposition shortcuts on
the Home screen.

& Swipe or slide: Quickly move your finger across the surface of the screen, without pausing when
you first touch (so you don't drag something instead). For example, you can slide a Home screen left
or right to view the other Home screens.

» Double-tap: Tap quickly twice on a webpage, map, or other screen to zoom. For example, double-
tap a webpage in Browser to zoom in, and double-tap again to zoom out.

> Pinch: In some apps (such as Maps, Browser, and Gallery), you can zoom in and out by placing two
fingers on the screen at once and pinching them together (to zoom out) or spreading them apart (to
zoom in).

Exhibit 5, at 9.

As an example of one of the Samsung Galaxy Nexus modules, instructions for a slide to
unlock functionality within the Android 4.0's lock screen program include, but are not
necessarily limited to, those contained in the file
frameworks/base/core/java/com/android/internal/widget/multiwaveview/MultiWave Vie
w.java. This file contains a class named “MultiWaveView” that implements the various

behaviors of the slide to unlock functionality. The comments from the Android 4.0 code

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Claim 7 of U.S. Patent No. 8,046,721

Infringement by Samsung Galaxy Nexus

describe the overall functionality of the MultiWaveView:

[**

* A special widget containing a center and outer ring. Moving the
center ring to the outer ring

* causes an event that can be caught by implementing
OnTriggerListener.

*/

(e) to detect a contact with the touch-
sensitive display at a first predefined
location corresponding to an unlock image;

The Samsung Galaxy Nexus’s home screen, when locked, contains an unlock image at a
predefined location in the bottom center of the screen (see image below). The Samsung
Galaxy Nexus’s contact/motion module contains instructions that allow the Galaxy
Nexus to detect a user’s contact with the touch-sensitive display at the unlock image
(figure below).

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Claim 7 of U.S. Patent No. 8,046,721

Infringement by Samsung Galaxy Nexus

(Image of Samsung Galaxy Nexus, demonstrating detecting contact on the unlock
image.)

The Samsung Galaxy Nexus’s contact/motion module contains instructions including,
but not necessarily limited to, those contained in MultiWaveView.java file, and more
specifically within the methods onTouchEvent(), handleDown() and
trySwitchToFirstTouchState() to detect contact with the unlock image on the touch-
sensitive display. The method onTouchEvent() calls handleDown() when it receives a
motion event that corresponds to a contact on the touch-sensitive display, which in turn
calls trySwitchToFirstTouchState(). The trySwitchToFirstTouchState() method has
instructions that determines whether a contact with the touch-sensitive display hits the
unlock image.

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Claim 7 of U.S. Patent No. 8,046,721

Samsung Galaxy Nexus

(f) to continuously move the unlock image
on the touch-sensitive display in accordance
with movement of the detected contact
while continuous contact with the touch-
sensitive display is maintained, wherein the
unlock image ts a graphical, interactive
user-interface object with which a user
interacts in order to unlock the device; and

The Samsung Galaxy Nexus’s contact/motion module contains instructions directing that
(1) when the user places their finger on the Samsung Galaxy Nexus’s unlock image and
(2) then moves their finger on the screen while maintaining continuous contact with the
screen, (3) the Samsung Galaxy Nexus continuously moves the unlock image in
accordance with the movement of the user’s finger. The images below demonstrate this
movement.

Continuous contact with an interactive
user-interface object

(Images of Samsung Galaxy Nexus, demonstrating continuous movement of the unlock
image in accordance with continuous contact movement of the user’s finger.)

This unlock image that the user moves on the touch-sensitive display is a graphical,
interactive user-interface object with which the user may interact in order to unlock the
Samsung Galaxy Nexus. By moving this unlock image in the manner shown in the
pictures above, the user may unlock the Samsung Galaxy Nexus. The Samsung Galaxy
Nexus Help site briefly describes this unlock mechanism as “Slide”:

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Claim 7 of U.S. Patent No. 8,046,721

Infringement by Samsung Galaxy Nexus

You can choose among these lock options, listed in approximate order of strength:

Slide provides no protection, but lets you get to the Home screen quickly, or open Camera @
taking pictures immediately.

Face Unlock lets you unlock your phone by looking at it. This is the least secure lock optior

Pattern lets you draw a simple pattern with your finger to unlock the phone. This is slightly
secure than Face Unlock.

PIN requires four or more numbers. Longer PINs tend to be more secure.

Password requires four or more letters or numbers. This is the most secure option, as long
create a strong password.

Exhibit 5, at 103.

Instructions for tracking the movement of the detected contact and to in turn
continuously move the unlock image are found in, but not necessarily limited to, the file
MultiWaveView.java within the onTouchEvent() and handleMove() methods. The
method onTouchEvent() calls handleMove() when it receives a motion event that
corresponds to a movement of a contact on the touch-sensitive display. The method
handleMove() tracks the movement of the detected contact and continuously moves the
unlock image.

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Claim 7 of U.S. Patent No. 8,046,721

Samsung Galaxy Nexus

(g) to unlock the hand-held electronic
device if the unlock image is moved from
the first predefined location on the touch
screen to a predefined unlock region on the
touch-sensitive display.

The Samsung Galaxy Nexus’s contact/motion module contains additional instructions
directing that (1) when the Samsung Galaxy Nexus detects contact with the user’s finger,
(2) a second unlock image appears at a predefined location on the lower right potion of
the screen (see center image below), directing the user to the location of required
movement to unlock the Galaxy Nexus, and (3) when the user moves the first (originally
centered) unlock image to the second (right-hand) unlock image on the touch-sensitive
display, the Samsung Galaxy Nexus unlocks.

Continuous contact with an interactive
user-interface object

(Images of Samsung Galaxy Nexus, demonstrating unlocking the Galaxy Nexus by
moving the unlock image from a first predefined location to a second predefined
location.)

The instructions for unlocking the Samsung Galaxy Nexus by sliding the unlock image
to the unlock region on the right of the screen include, but are not necessarily limited to,
that contained in the MultiWaveView.java file, which contains the following methods
that are executed when the unlock image is moved to the predefined unlock region:

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Claim 7 of U.S. Patent No. 8,046,721

Samsung Galaxy Nexus

doFinish() and setGrabbedState().

The file frameworks/base/policy/src/com/android/internal/policy/imp|l/LockScreen.java
contains code including, but not necessarily limited to, instructions for using the
MultiWaveView class to unlock the screen. The class is called “LockScreen”, which in
turn has a class called “MultiWaveViewMethods” that determines what to do, including
but not limited to when to unlock the Galaxy Nexus, when the unlock image is moved to
the predetermined unlock region. In particular, the onTrigger() method specifies when
and how to unlock the Galaxy Nexus.

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Claim 8 of U.S. Patent No. 8,046,721

Samsung Galaxy Nexus

8. The device of claim 7, further
comprising instructions to display visual
cues to communicate a direction of
movement of the unlock image required to
unlock the device.

When the locked Samsung Galaxy Nexus detects contact with the user’s finger on the
first unlock image, a second unlock image appears on the lower right potion of the
screen (see center image below), communicating to user the that the first unlock image
must be moved to the right to unlock the Galaxy Nexus:

Furthermore, when the unlock image first appears on the unlock screen of the locked
Samsung Galaxy Nexus, an animation of “cheverons” moving from the unlock image to
the right of the screen is played, which are visual cues which communicate a direction of
movement of the unlock image required to unlock the device. This is illustrated in the
following images:

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Sn 1G Ste) Sp ds)

DN a ae a Dany ae Bl tl eo a

(Images demonstrating that after the user touches the unlock image, cheverons move to
the right as a cue toward the direction of movement to unlock the Samsung Galaxy

This animation is also replayed if the user touches the unlock image and releases the
touch without moving the unlock image to the predetermined unlock region. The
instuctions for this animation is found in, but not necessariliy limited to, the method
startChevronAnimation() in the file MultiWaveView.java.

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Claim 12 of U.S. Patent No. 8,046,721

Samsung Galaxy Nexus

12. A computer readable storage medium
storing one or more programs, the one or
more programs comprising instructions,
which when executed by a portable
electronic device with a touch-sensitive
display, cause the portable electronic device
to perform a method comprising:

To the extent that the preamble is found to be a limitation, the Samsung Galaxy Nexus
contains two forms of memory, including computer readable storage: “Storage: 32 GB”
and “Memory: 1 GB RAM.” Exhibit 4 (Galaxy Nexus Specifications). The ’721
specification describes computer readable storage medium as “e.g., one or more
magnetic disk storage devices, flash memory devices, or other non-volatile solid state
memory devices.” (Col. 2:58-60.)

As is standard for computing devices, the Galaxy Nexus’s computer readable storage
medium contains programs comprising instructions that the Galaxy Nexus’s processor
can execute, causing the Galaxy Nexus to perform various methods.

The Samsung Galaxy Nexus is a portable electronic device. It is 67.94mm x 135.5mm x
9.47mm, and has an 1850mAh battery. Exhibit 4 (Galaxy Nexus Specifications).

The Galaxy Nexus also has a touch-sensitive display. The Samsung Galaxy Nexus Help
site states that to use the Galaxy Nexus, you “[u]se your fingers to manipulate icons,
buttons, menus, the onscreen keyboard, and other items on the touchscreen.” Exhibit 5,
at 9. The ’721 specification makes clear that a touch screen display is the same as a
touch-sensitive display: “Touch-sensitive displays (also known as ‘touch screens’ or
‘touchscreens’) are well known in the art.” (Col. 1:25-26.)

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Claim 12 of U.S. Patent No. 8,046,721

Samsung Galaxy Nexus

(a) detecting a contact with the touch-
sensitive display at a first predefined
location corresponding to an unlock image;

The Samsung Galaxy Nexus home screen, when locked, contains an unlock image at a
predefined location in the bottom center of the screen (see image below). The Samsung
Galaxy Nexus Help site explains that the Galaxy Nexus detects at least the following
types of contacts:

Touch & type

Use your fingers to manipulate icons, buttons, menus, the onscreen keyboard, and other items on the
touchscreen. You can also change the screen's orientation.

To select or activate something, touch it.

To type something, such as a name, password, or search terms, just touch where you want to type. A
keyboard pops up that lets you type into the field.

Other common gestures include:
® Touch & hold: Touch & hold an item on the screen by touching it and not lifting your finger until an
action occurs.

P» Drag: Touch & hold an item for a moment and then, without lifting your finger, move your finger on
the screen until you reach the target position. For example, you can drag to reposition shortcuts on
the Home screen.

> Swipe or slide: Quickly move your finger across the surface of the screen, without pausing when
you first touch (so you don't drag something instead). For example, you can slide a Home screen left
or right to view the other Home screens.

> Double-tap: Tap quickly twice on a webpage, map, or other screen to zoom. For example, double-
tap a webpage in Browser to zoom in, and double-tap again to zoom out.

> Pinch: In some apps (such as Maps, Browser, and Gallery), you can zoom in and out by placing two
fingers on the screen at once and pinching them together (to zoom out) or spreading them apart (to
zoom in).

Exhibit 5, at 9.

The Samsung Galaxy Nexus detects these contacts with the touch-sensitive display,
including contacts on the unlock image described above.

As an example of instructions contained in the Samsung Galaxy Nexus programs,
instructions for a slide to unlock functionality within the Android 4.0's lock screen

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Claim 12 of U.S. Patent No. 8,046,721

Samsung Galaxy Nexus

program are included in, but not necessarily limited to, those contained in the file
frameworks/base/core/java/com/android/internal/widget/multiwaveview/MultiWaveVie
w.java. This file contains a class named “MultiWaveView” that implements the various
behaviors of the slide to unlock functionality. The comments from the Android 4.0 code
describe the overall functionality of the MultiWaveView:

/**

* A special widget containing a center and outer ring. Moving the
center ring to the outer ring

* causes an event that can be caught by implementing
OnTriggerListener.

*/

The Samsung Galaxy Nexus’s default setting is set such that the Galaxy Nexus’s home
screen, when locked, contains an unlock image at a predefined location in the bottom
center of the screen (see image below).

The Samsung Galaxy Nexus’s programs contains instructions that allow the Galaxy
Nexus to detect a user’s contact with the touch-sensitive display at the unlock image
(figure below).

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Claim 12 of U.S. Patent No. 8,046,721 Samsung Galaxy Nexus

The Samsung Galaxy Nexus’s programs contain instructions including, but not
necessarily limited to, those contained in MultiWaveView java file, and more
specifically within the methods onTouchEvent(), handleDown() and
trySwitchToFirstTouchState() to detect contact with the unlock image on the touch-
sensitive display. The method onTouchEvent() calls handleDown() when it receives a
motion event that corresponds to a contact on the touch-sensitive display, which in turn
calls trySwitchToFirstTouchState(). The trySwitchToFirstTouchState() method has
instructions that determines whether a contact with the touch-sensitive display hits the
unlock image.

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Claim 12 of U.S. Patent No. 8,046,721

Samsung Galaxy Nexus

(b) continuously moving the unlock image
on the touch-sensitive display in accordance
with movement of the contact while
continuous contact with the touch screen is
maintained, wherein the unlock image is a
graphical, interactive user-interface object
with which a user interacts in order to
unlock the device; and

When the user places their finger on the Samsung Galaxy Nexus’s unlock image and
then moves their finger on the screen while maintaining continuous contact with the
screen, the Samsung Galaxy Nexus continuously moves the unlock image in accordance
with the movement of the user’s finger. The images below demonstrate this movement.

Continuous contact with an interactive
user-interface object

(Images of Samsung Galaxy Nexus, demonstrating continuous movement of the unlock
image in accordance with continuous contact movement of the user’s finger.)

This unlock image that the user moves on the touch-sensitive display is a graphical,
interactive user-interface object with which the user may interact in order to unlock the
Samsung Galaxy Nexus. By moving this unlock image in the manner shown in the
pictures above, the user may unlock the Samsung Galaxy Nexus. The Samsung Galaxy
Nexus Help site briefly describes this unlock mechanism as “Slide”:

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Claim 12 of U.S. Patent No. 8,046,721

Samsung Galaxy Nexus

You can choose among these lock options, listed in approximate order of strength:

Exhibit 5, at 103.

Instructions for tracking the movement of the detected contact and to in turn
continuously move the unlock image is found in, but not necessarily limited to, the file
MultiWaveView.java within the onTouchEvent() and handleMove() methods. The
method onTouchEvent() calls handleMove() when it receives a motion event that
corresponds to a movement of a contact on the touch-sensitive display. The method
handleMove() tracks the movement of the detected contact and continuously moves the
unlock image.

Slide provides no protection, but lets you get to the Home screen quickly, or open Camera eé
taking pictures immediately.

Face Unlock lets you unlock your phone by looking at it. This is the least secure lock optior

Pattern lets you draw a simple pattern with your finger to unlock the phone. This is slightly
secure than Face Unlock.

PIN requires four or more numbers. Longer PINs tend to be more secure.

Password requires four or more letters or numbers. This is the most secure option, as long
create a strong password.

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Claim 12 of U.S. Patent No. 8,046,721

Samsung Galaxy Nexus

(c) unlocking the hand-held electronic
device if the moving the unlock image on
the touch-sensitive display results in
movement of the unlock image from the
first predefined location to a predefined
unlock region on the touch-sensitive
display.

When the Samsung Galaxy Nexus detects contact with the user’s finger, a second unlock
image appears at a predefined location on the lower right potion of the screen (see center
image below), directing the user to the location of required movement to unlock the
Galaxy Nexus.

When the user moves the first (originally centered) unlock image to the second (right-
hand) unlock image on the touch-sensitive display, the Samsung Galaxy Nexus unlocks.

| a

Continuous contact with an interactive
user-interface object

(Images of Samsung Galaxy Nexus, demonstrating unlocking the Galaxy Nexus by
moving the unlock image from a first predefined location to a second predefined
location.)

The instructions for unlocking the Samsung Galaxy Nexus by sliding the unlock image
to the unlock region on the right of the screen include, but are not necessarily limited to,
that contained in the MultiWaveView.java file, which contains the following methods
that are executed when the unlock image is moved to the predefined unlock region:
doFinish() and setGrabbedState().

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Claim 12 of U.S. Patent No. 8,046,721

Samsung Galaxy Nexus

The file frameworks/base/policy/src/com/android/internal/policy/impl/LockScreen java
contains code including, but not necessarily limited to, instructions for using the
MultiWaveView class to unlock the screen. The class is called ‘““LockScreen”’, which in
turn has a class called “MultiWaveViewMethods” that determines what to do, including
but not limited to when to unlock the Galaxy Nexus, when the unlock image is moved to
the predetermined unlock region. In particular, the onTrigger() method specifies when
and how to unlock the Galaxy Nexus.

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Claim 15 of U.S. Patent No. 8,046,721 Samsung Galaxy Nexus

15. The computer readable storage medium| The graphical unlock image that appears on the bottom-center of the Samsung Galaxy
of claim 12, wherein the unlock image isa | Nexus screen when the locked Galaxy Nexus detects the user’s finger on the unlock
single image. image, is a single image (see images below):

An excerpt of the relevant code for the graphical unlock image is below, where each
"targetIcon” is a reference to a single icon:

private void updateTargetPositions() {

// Reposition the target drawables if the view
changed.

{

final TargetDrawable targetIcon =
mTargetDrawables.get (i) ;

double angle = -2.0f * Math.PI * i /
mTargetDrawables.size();

float xPosition = mWaveCenterxX + mOuterRadius
* (float) Math.cos (angle) ;

for (int i = 0; i < mTargetDrawables.size(); i++)

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Claim 15 of U.S. Patent No. 8,046,721

Samsung Galaxy Nexus

*

float yPosition = mWaveCenterY + mOuterRadius

(float) Math.sin(angle) ;

targetIcon.setxX (xPosition) ;
targetiIcon.setY¥(yPosition) ;

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